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 7    RUFINA MOLINA

 8                SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
             FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
 10

 11   RUFINA MOLINA, ESTATE OF       ) CASE NO. CV16-01293-ODW(ASx)
      LUIS MARTINEZ, by and through  )
 12   successor in interest, RUFINA  ) FIRST AMENDED COMPLAINT FOR
 13   MOLINA,                        ) DAMAGES
                                     )
 14                      Plaintiff,  )   1. Excessive Force/Unreasonable
 15         vs.                      )      Seizure (42 U.S.C. § 1983)
                                     )   2. Interference with Familial Integrity
 16   CITY OF LOS ANGELES; RICARDO )        Substantive Due Process Violation
 17   HUERTA, RUDOLPH RIVERA,        )      (42 U.S.C. §1983)
      ALDO QUINTERO, and DOES 1      )   3. Municipal Liability for
 18   through 10, inclusive,         )      Unconstitutional Customs and
 19                                  )      Practices (42 U.S.C. § 1983)
                         Defendants.
 20

 21                                        [DEMAND FOR JURY TRIAL]
 22

 23         COMES NOW Plaintiffs RUFINA MOLINA (hereafter “Plaintiff”) and
 24   ESTATE OF LUIS MARTINEZ, by and through successor in interest, RUFINA
 25   MOLINA, and allege as follows:
 26   ///
 27   ///
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                     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1                                                I.
 2                               VENUE AND JURISDICTION
 3             1.   Venue is proper in the Superior Court of the State of California, for the
 4    County of Los Angeles, Central District, in that the underlying acts, omissions,
 5    injuries and related facts and circumstances upon which the present action is based
 6    occurred in the County of Los Angeles, at or near 3242 Monituou, Los Angeles,
 7    California, within the boundaries of this Court. This Court has jurisdiction over the
 8    present matter because, as delineated within this complaint, the nature of the claims
 9    and amounts in controversy meet the requirements for jurisdiction in the Superior
 10   Court.
 11                                              II.
 12                                          PARTIES
 13            2.   Decedent Luis Martinez (hereinafter “decedent”) was an individual
 14   residing in the City and County of Los Angeles, California.
 15            3.   Plaintiff RUFINA MOLINA, is and was, at all times relevant hereto, the
 16   natural mother of decedent Luis Martinez.
 17            4.   At all times mentioned herein, Defendant CITY OF LOS ANGELES
 18   (hereinafter “CITY”) is and was a public entity, duly organized and existing under
 19   and by virtue of the laws of the State of California.
 20            5.   Defendants RICARDO HUERTA, RUDOLPH RIVERA, ALDO
 21   QUINTERO (hereinafter “defendant officers”) are police officers working for City
 22   and its police department. Said defendants are sued in their official and individual
 23   capacity. At all times relevant to the present action, said defendants were acting
 24   under the color of law, to wit, under the color of the statutes, ordinances, regulations,
 25   policies, customs, and usages of Defendant City, as well as under the color of the
 26   statutes and regulations of the State of California. Said defendants were acting
 27   within their capacity as employees, agents, representatives and servants of the City.
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 1          6.     Defendant officers, and DOES 1 through 10, as duly sworn peace
 2    officers, were specifically authorized by Defendant City and its Police Department, to
 3    perform the duties and responsibilities of sworn police officers of the City, and all
 4    acts hereinafter complained of were performed by each of them within the course and
 5    scope of their duties as police officers for Defendant City and as an officials for
 6    Defendant City. Said defendants are also sued herein in their individual capacity and
 7    in their official capacity as peace officers of the City. Defendant City encouraged,
 8    assisted, ratified and/or with deliberate indifference failed to prevent all of the acts
 9    and omissions complained of herein.
 10         7.     The present Plaintiffs are ignorant of the true names and capacities of
 11   Defendants sued herein as DOES 1 through 10, and therefore sue these Defendants
 12   by such fictitious names. Plaintiffs will amend this complaint to allege said
 13   Defendants’ true names and capacities when ascertained. Plaintiffs are informed and
 14   believe and thereon allege that each of the fictitiously named Defendants are
 15   responsible in some manner for the occurrences herein alleged, and that Plaintiffs’
 16   injuries as herein alleged were proximately caused by the acts and/or omissions of
 17   said fictitiously named Defendants.
 18         8.     DOES 6 through 10 were also duly appointed deputies, sergeants,
 19   lieutenants, detectives, or other officers, officials, executives and/or policymakers of
 20   City of Los Angeles Police Department (also “LAPD”), a department and subdivision
 21   of Defendant City, and at all times mentioned herein said Defendants were acting in
 22   the course and scope of their employment with Defendant COUNTY, which is liable
 23   under the doctrine of respondeat superior pursuant to California Government Code
 24   § 815.2.
 25   ///
 26   ///
 27   ///
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 1                                                    III.
 2                         FACTS COMMON TO ALL CAUSES OF ACTION
 3          9.        On April 21, 2015 at approximately 4:30 p.m., Luis Martinez was shot
 4    and killed by defendants Ricardo Huerta, Rudolph Rivera, Aldo Quintero and DOES
 5    1 through 10. Luis Martinez was sitting in his wheelchair in his apartment located at
 6    3414Manitou A venue, Apt. 403, Los Angeles, California.
 7          10.       The police officer defendants arrived at the location in response to a 911
 8    call reporting that decedent was suffering from mental health problems and was
 9    suicidal.
 10         11.       Decedent was unarmed.
 11         12.       Police officer defendants arrived at decedent’s apartment and confronted
 12   decedent. They found him in his wheelchair. Thereafter, they shot decedent several
 13   times, causing him serious injuries, from which he eventually died.
 14                                                IV.
 15                                 FIRST CAUSE OF ACTION
 16                             Excessive Force/Unreasonable Seizure
 17                                         42 U.S.C. § 1983
 18      As Against Defendants Police Officer Defendants, and DOES 1 through 10
 19         13.       Plaintiffs reallege and incorporate the foregoing paragraphs as if set
 20   forth herein.
 21         14.       Police officer defendants’ actions described herein violated decedent’s
 22   rights under the Fourth Amendment to the United States Constitution incorporated
 23   and made applicable to states and municipalities by the Due Process Clause of the
 24   Fourteenth Amendment, by subjecting decedent to unreasonable searches and
 25   seizures of his person.
 26         15.       At the time decedent was shot and killed, he was not engaging in any
 27   assaultive or threatening conduct. Under the totality of the relevant circumstances
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 1    that existed, decedent posed no danger or threat to defendant police officers, or
 2    anyone else. The shooting and killing of decedent was unreasonable under the
 3    circumstances in every respect.
 4          16.       These actions violated decedent’s right to be free from unreasonable
 5    searches and seizures as guaranteed under the Fourth Amendment to the United
 6    States Constitution.
 7          17.       Defendants’ conduct violated clearly established constitutional or other
 8    rights, of which Defendants knew, or of which reasonable public officials should
 9    have known, rendering Defendants liable to Plaintiffs under 42 U.S.C. § 1983.
 10         18.       The unauthorized, unwarranted killing of decedent was willful and done
 11   with a deliberate disregard for the rights and safety of decedent, and therefore
 12   warrants the imposition of punitive damages as to police officer defendants.
 13         19.       After being shot by Defendants, decedent endured great physical and
 14   emotional pain and suffering.
 15         20.       Accordingly, Police officer defendants are liable to Plaintiff for
 16   compensatory damages pursuant to 42 U.S.C. § 1983.
 17

 18                                                V.
 19                                SECOND CAUSE OF ACTION
 20                              Interference with Familial Integrity
 21                               Substantive Due Process Violation
 22                                         42 U.S.C. § 1983
 23               As Against Police Officer Defendants, and DOES 1 through 10
 24         21.       Plaintiffs reallege and incorporate the foregoing paragraphs as if set
 25   forth herein.
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 1          22.     The present claim is brought pursuant to 42 U.S.C. § 1983, for violation
 2    of the right of familial integrity guaranteed by the Fourteenth Amendment of the
 3    United States Constitution.
 4          23.     As alleged above, the shooting and killing of decedent was unreasonable
 5    under the circumstances of the encounter between Police officer Defendants. As
 6    such, the shooting and killing of decedent violated the constitutional limits on police
 7    use of deadly force in violation of the Fourth Amendment’s limits on unreasonable
 8    seizures.
 9          24.     At the same time, the shooting and killing of decedent by Defendants
 10   Police Officers violated the rights of Plaintiff RUFINA MOLINA’S right to be free
 11   from police interference in their relationship with her son Luis Martinez.
 12         25.     The unreasonable conduct of police officer defendants was the direct
 13   and proximate cause of the death of decedent. As a result of the unreasonable conduct
 14   of police officer defendants, Plaintiff lost Luis Martinez, as well as his love,
 15   affection, society and moral support.
 16         26.     The unreasonable conduct of these Defendants was willful and done
 17   with a deliberate disregard for the rights and safety of Luis Martinez and the present
 18   Plaintiff and therefore warrants the imposition of punitive damages as to said
 19   defendants
 20         27.     Accordingly, Police Officer Defendants are liable to Plaintiffs for
 21   compensatory damages pursuant to 42 U.S.C. § 1983.
 22                                              VI.
 23                             THIRD CAUSE OF ACTION
 24                         Municipal Liability for Unconstitutional
                           Customs and Practices (42 U.S.C. § 1983)
 25               As to Defendant City of Los Angeles and DOES 1 through 10
 26         28.     Plaintiffs repeat and re-allege each and every allegation above with the
 27   same force and effect as though fully set forth herein.
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 1           29.   On and before April 21, 2015 and prior to the shooting of Luis Martinez,
 2    Defendant CITY and DOES 1 through 10 were aware that Defendant RICARDO
 3    HUERTA, RUDOLPH RIVERA, ALDO QUINTERO, and various other LAPD
 4    officers had not received proper and necessary training in de-escalation, the use of
 5    less than lethal weapons and safely dealing with people with depression, in a
 6    depressed state or other mental illnesses.
 7           30.   Defendants CITY and DOES 1 through 10, acting with deliberate
 8    indifference to the rights and liberties of the public in general, and of the present
 9    Plaintiffs and decedent, and of persons in their class, situation and comparable
 10   position, knowingly allowed officers to undertake patrol in the City of Los Angeles
 11   without proper training in de-escalation, the use of less than lethal weapons and
 12   safely dealing with people with depression, in a depressed state or other mental
 13   illnesses.
 14          31.    Said Defendants knew that such untrained officers would encounter
 15   people with depression, in a depressed state or other mental illnesses.
 16          32.   By reason of the aforementioned custom and practice, Luis Martinez
 17   was severely injured and subjected to pain and suffering and lost his life.
 18          33.   Defendants CITY and DOES 1 through 10 together with various other
 19   officials, whether named or unnamed, had either actual or constructive knowledge of
 20   the deficient practice and custom alleged in the paragraphs above. Despite having
 21   knowledge as stated above, these Defendants condoned, tolerated and through actions
 22   and inactions thereby ratified such custom and practice. Said defendants also acted
 23   with deliberate indifference to the foreseeable effects and consequences of these
 24   custom/practice with respect to the constitutional rights of decedent, Plaintiffs, and
 25   other individuals similarly situated.
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 1          34.    This practice and custom implemented and maintained and still tolerated
 2    by Defendant CITY was affirmatively linked to and was a significantly influential
 3    force behind the injuries of decedent and Plaintiffs.
 4          35.    By reason of the aforementioned acts and omissions Luis Martinez was
 5    killed and his mother suffered the loss of his love, affection, society and moral
 6    support.
 7          36.    Accordingly, Defendant CITY and DOES 1 through 10 are liable to
 8    Plaintiffs for compensatory damages pursuant to 42 U.S.C. § 1983.
 9

 10                                             VII.
 11                                PRAYER FOR RELIEF
 12         WHEREFORE, Plaintiffs requests entry of judgment in their favor and against
 13   Defendants as follows:
 14         A.     For compensatory damages, including general damages and special
 15                damages, and statutory damages for violation of the laws and
 16                Constitutions of the United States, in an amount to be determined at
 17                trial;
 18         B.     For punitive damages against Defendants RICARDO HUERTA,
 19                RUDOLPH RIVERA, ALDO QUINTERO, and DOES 1 through 10,
 20                pursuant to 42 U.S.C. § 1983 and any other applicable laws or statutes,
 21                in an amount sufficient to deter and make an example of each said
 22                defendant;
 23         C.     For prejudgment interest to be determined at trial;
 24         D.     For reasonable costs of this suit and attorneys’ fees, including attorneys’
 25                fees pursuant to 42 U.S.C. § 1988; and,
 26         E.     For such further other relief as the Court may deem just, proper, and
 27                appropriate.
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 2    Dated: April 20, 2016        CASILLAS & ASSOCIATES
 3                                 By /s/ Arnoldo Casillas
 4                                 ARNOLDO CASILLAS
                                   Attorneys for Plaintiffs
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  1                                DEMAND FOR JURY TRIAL
  2           COME NOW Plaintiffs RUFINA MOLINA and ESTATE OF LUIS
  3    MARTINEZ, by and through successor in interest, RUFINA MOLINA, and demand
  4    a trial by jury.
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  6

  7    Dated: April 20, 2016           CASILLAS & ASSOCIATES

  8                                    By /s/ Arnoldo Casillas
                                       ARNOLDO CASILLAS
  9                                    Attorneys for Plaintiffs
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                          COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
